            Case 18-57934-pmb                             Doc 27      Filed 09/21/18 Entered 09/21/18 11:32:54                       Desc Main
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 Fill in this information to identify your case:
 Debtor 1           George David Dorrell
                         First Name                 Middle Name            Last Name
 Debtor 2                Carol Lynn Dorrell
 (Spouse, if filing)     First Name                 Middle Name            Last Name
                                                                                                                      Check if this is an amended plan, and
 United States Bankruptcy Court for the NORTHERN DISTRICT OF GEORGIA                                                  list below the sections of the plan that
                                                                                                                      have been changed. Amendments to
                                                                                                                      sections not listed below will be
                                                                                                                      ineffective even if set out later in this
 Case number:            18-57934-PMB                                                                                 amended plan.
 (If known)                                                                                                           2.1; 3.1; 3.5; 4.3


Chapter 13 Plan
NOTE:                      The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use in Chapter 13
                           cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See Order Requiring Local Form for
                           Chapter 13 Plans and Establishing Related Procedures, General Order No. 21-2017, available in the Clerk’s Office and on
                           the Bankruptcy Court’s website, ganb.uscourts.gov. As used in this plan, “Chapter 13 General Order” means General
                           Order No. 21-2017 as it may from time to time be amended or superseded.

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that
                           the option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and
                           judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           Check if applicable.

                               The plan provides for the payment of a domestic support obligation (as defined in 11 U.S.C. § 101(14A)), set out in §
                               4.4.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders otherwise.
                           The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                           3015.

                           To receive payments under this plan, you must have an allowed claim. If you file a timely proof of claim, your claim is deemed
                           allowed unless a party in interest objects. See 11 U.S.C. § 502(a).

                           The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                           controlling, unless the Bankruptcy Court orders otherwise.

                           The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                           not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                           checked, or if no box is checked, the provision will be ineffective even if set out later in the plan.

 § 1.1        A limit on the amount of a secured claim, that may result in a partial payment or no               Included                   Not Included
              payment at all to the secured creditor, set out in § 3.2
 § 1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in § 3.4
 § 1.3        Nonstandard provisions, set out in Part 8.                                                         Included                   Not Included


 Part 2:       Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1         Regular Payments to the trustee; applicable commitment period.

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             The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:

                Check one:                    36 months                60 months

             Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

The debtor(s) will pay $630.00 per month for the applicable commitment period. If the applicable commitment period is 36 months, additional
Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed 60 months unless the
Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of the applicable
commitment period, no further Regular Payments will be made.

Check if applicable.
  The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or reproduced.
   Insert additional lines as needed for more changes.):


§ 2.2        Regular Payments; method of payment.

             Regular Payments to the trustee will be made from future income in the following manner:

             Check all that apply:
                      Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the
                      trustee the amount that should have been deducted.

                          Debtor(s) will make payments directly to the trustee.

                          Other (specify method of payment):


§ 2.3        Income tax refunds.

             Check one.

                          Debtor(s) will retain any income tax refunds received during the pendency of the case.

                          Debtor(s) will (1) supply the trustee with a copy of each income tax return filed during the pendency of the case within 30 days
                          of filing the return and (2) turn over to the trustee, within 30 days of the receipt of any income tax refund during the applicable
                          commitment period for tax years 2018, 2019, 2020 , the amount by which the total of all of the income tax refunds
                          received for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor's spouse is not a
                          debtor in this case, "tax refunds received" means those attributable to the debtor.

                          Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:


§ 2.4        Additional Payments.

             Check one.

                          None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5        [Intentionally omitted.]

§ 2.6        Disbursement of funds by trustee to holders of allowed claims.

             (a) Disbursements before confirmation of plan. The trustee will make preconfirmation adequate protection payments to holders of
                 allowed claims as set forth in §§ 3.2 and 3.3.

             (b) Disbursements after confirmation of plan. Upon confirmation, after payment of the trustee’s statutory fee, the trustee will disburse
                 Regular Payments, Additional Payments, and Tax Refunds that are available for disbursement to make payments to holders of allowed
                 claims as follows:


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                       Carol Lynn Dorrell

                           (1) First disbursement after confirmation of Regular Payments. In the first disbursement after confirmation, the trustee will
                           disburse all available funds from Regular Payments in the following order:

                                (A) To pay any unpaid preconfirmation adequate protection payments required by 11 U.S.C. § 1326(a)(1)(C) as set forth in §
                                3.2, § 3.3, and orders of the Bankruptcy Court;

                                (B) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;

                                (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and
                                3.4; on domestic support obligations as set forth in § 4.4; on the arrearage claims on nonpriority unsecured claims as set forth
                                in § 5.2; and on executory contracts and unexpired leases as set forth in § 6.1; and

                                (D) To pay claims in the order set forth in § 2.6(b)(3).

                           (2) Second and subsequent disbursement after confirmation of Regular Payments. In the second disbursement after
                           confirmation, and each month thereafter, the trustee will disburse all available funds from Regular Payments in the order below.
                           All available Regular Payments will be distributed to the claims in each paragraph until such claims are paid in full.

                                (A) To make concurrent monthly payments, including any amount past due under this plan: on secured claims as set forth in
                                §§ 3.1, 3.2, 3.3, and 3.4; on fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3; on domestic
                                support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set forth in § 5.2 and
                                executory contracts and unexpired leases as set forth in § 6.1;

                                (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee’s fee and
                                the debtor’s attorney’s fees, expenses, and costs; and

                                (C) To pay claims in the order set forth in § 2.6(b)(3).

                           (3) Disbursement of Additional Payments and Tax Refunds. The trustee will disburse the Additional Payments and Tax
                           Refunds in the following order:

                                (A) To pay fees, expenses, and costs of the attorney for the debtor(s) as set forth in § 4.3;

                                (B) To make pro rata payments on administrative expenses allowed under 11 U.S.C. § 503(b) other than the trustee’s fee and
                                the debtor’s attorney’s fees, expenses, and costs;

                                (C) To make payments pro rata based on the monthly payment amount: on secured claims as set forth in §§ 3.1, 3.2, 3.3, and
                                3.4; on domestic support obligations as set forth in § 4.4; on the arrearage claims on both nonpriority unsecured claims as set
                                forth in § 5.2 and executory contracts and unexpired leases as set forth in § 6.1;

                                (D) To pay other Allowed Secured Claims as set forth in § 3.6;

                                (E) To pay allowed claims entitled to priority under 11 U.S.C. § 507, other than administrative expenses and domestic support
                                obligations; and

                                (F) To pay nonpriority unsecured claims not otherwise classified as set forth in § 5.1 (“Unclassified Claims”) and to pay
                                nonpriority unsecured claims separately classified as set forth in § 5.3 (“Classified Claims”). The trustee will estimate the
                                total amounts to be disbursed during the plan term (1) to pay Unclassified Claims and (2) to pay Classified Claims. Funds
                                available for disbursement on these claims will be allocated pro rata to each class, and the funds available for disbursement
                                for each class will be paid pro rata to the creditors in the class.

                           (4) Unless the debtor(s) timely advise(s) the trustee in writing, the trustee may treat and disburse any payments received from the
                           debtor(s) as Regular Payments.

 Part 3:      Treatment of Secured Claims

§ 3.1        Maintenance of payments and cure of default, if any.

             Check one.

                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                          Beginning with the first payment that is due after the date of the order for relief under Chapter 13, the debtor(s) will maintain the

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                          current contractual installment payments on the secured claims listed below, with any changes required by the applicable
                          contract and noticed in conformity with any applicable rules. These payments will be disbursed directly by the debtor(s). Any
                          existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate
                          stated below.

                  If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless the Bankruptcy Court
                  orders otherwise, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral
                  will no longer be treated by the plan.
 Name of creditor                  Collateral                                  Estimated amount of           Interest rate on     Monthly plan
                                                                               arrearage (if any)            arrearage            payment on
                                                                                                             (if applicable)      arrearage




                                                                                           0                                           0                           0


§ 3.2        Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.


                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

§ 3.3        Secured claims excluded from 11 U.S.C. § 506.

             Check one.

                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                          The claims listed below were either:

                          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                          acquired for the personal use of the debtor(s), or

                          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the
                          trustee.

                          The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the
                          creditor in the amount set out in the column headed Monthly preconfirmation adequate protection payment.

                          The holder of any claim listed below will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier
                          of:

                          (a) payment of the underlying debt determined under nonbankruptcy law, or

                          (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt
                          under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

 Name of Creditor Collateral                                  Purchase date   Estimated amount    Interest rate    Monthly                 Monthly
                                                                              of claim                             preconfirmation         postconfirmation
                                                                                                                   adequate                payment to creditor
                                                                                                                   protection              by trustee
                                                                                                                   payment
                                                              Opened 01/17                                                             $250.00 to increase
 Northwest                    2015 Hyundai                    Last Active                                                                  to $600 in July
 Federal Cu                   Tucson 40k miles                4/26/18         $24,396.00                  5.14%                $250.00                2019


§ 3.4        Lien avoidance.

Check one.

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                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5        Surrender of collateral.

             Check one.

                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                          The debtor(s) elect(s) to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                          request(s) that, upon confirmation of this plan, the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that
                          the stay under § 1301 be terminated in all respects. Confirmation of the plan results in termination of such stays. Any allowed
                          unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below. No payments as to the collateral
                          will be made, and all secured claims based on the collateral will not otherwise be treated by the plan.

 Name of Creditor                                                         Collateral
 Quicken Loans                                                            12833 Devonshire Lakes Circle Fort Myers, FL 33913 Lee County
 Hayden and Associates                                                    12833 Devonshire Lakes Cirecle Fort Myers FL 33913

§ 3.6        Other Allowed Secured Claims.

             A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at
             the rate of 5.50 %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in
             interest, may: object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification
             of the claim is permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor’s lien pursuant to 11
             U.S.C. § 522(f), if applicable.

             If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured
             claim will be treated as an unsecured claim under Part 5 of this plan.

             The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

             (a) payment of the underlying debt determined under nonbankruptcy law, or

             (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11
             U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

 Part 4:      Treatment of Fees and Priority Claims

§ 4.1        General.

             Trustee’s fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full
             regardless of whether it is listed in § 4.4.

§ 4.2        Trustee’s fees.

             Trustee’s fees are governed by statute and may change during the course of the case.

§ 4.3        Attorney’s fees.

             (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
             $ 4,500.00 . The allowance and payment of the fees, expenses and costs of the attorney for the debtor(s) are governed by General
             Order 22-2017 (“Chapter 13 Attorney’s Fees Order”), as it may be amended.

             (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent
             set forth in the Chapter 13 Attorney’s Fees Order.

             (c) The Bankruptcy Court may allow additional fees, expenses, and costs to the attorney for debtor(s) in excess of the amount shown in §
             4.3(a) above upon application of the attorney in compliance with the Chapter 13 Attorney’s Fees Order and after notice and a hearing.

             (d) From the first disbursement after confirmation, the attorney will receive payment under § 2.6(b)(1) up to the allowed amount set forth in
             § 4.3(a).


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             (e) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $ 300.00 per month from Regular
             Payments and (2) from Tax Refunds or Additional Payments, as set forth in § 2.6, until all allowed amounts are paid in full.

             (f) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the
             debtor(s) the amount of $ 2,500.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits. If the
             attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney’s Fees Order, the trustee will deliver,
             from the funds available, the stated amount or the maximum amount to the attorney, whichever is less.

             (g) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
             $ 2,500.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits, will be allowed to the extent set
             forth in the Chapter 13 Attorney’s Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum
             amount within 10 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of
             the Chapter 13 Attorney’s Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

             (h) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the
             debtor(s), from the funds available, any allowed fees, expenses, and costs that are unpaid.

             (i) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any
             allowed fees, expenses, and costs that are unpaid.

§ 4.4        Priority claims other than attorney’s fees.

                          None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

             (a) Check one.


                          The debtor(s) has/have no domestic support obligations. If this box is checked, the rest of § 4.4(a) need not be completed or
                          reproduced.

             (b) The debtor(s) has/have priority claims other than attorney’s fees and domestic support obligations as set forth below:

  Name of creditor                                                                                     Estimated amount of claim
  Georgia Department of Revenue                                                                        $0.00
  IRS                                                                                                  $0.00


 Part 5:      Treatment of Nonpriority Unsecured Claims

§ 5.1        Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims
             will receive:

             Check one.

                  A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

                A pro rata portion of the larger of (1) the sum of $         and (2) the funds remaining after disbursements have been made to all other
             creditors provided for in this plan.

                The larger of (1)      % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have
             been made to all other creditors provided for in this plan.

                  100% of the total amount of these claims.

             Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims
             filed and allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee’s fees, costs, and expenses of the attorney
             for the debtor(s), and other priority claims under Part 4.

§ 5.2        Maintenance of payments and cure of any default on nonpriority unsecured claims.


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             Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3        Other separately classified nonpriority unsecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

§ 6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected.

             Check one.

                              Name of creditor:                      Description of leased property or executory         Estimated amount of         Monthly
                                                                     contract                                            arrearage                   postconf
                                                                                                                                                     irmatio
                                                                                                                                                     n
                                                                                                                                                     paymen
                                                                                                                                                     t to cure
                                                                                                                                                     arreara
                                                                                                                                                     ge
                              Tracy Knight                           1981 Westwood Circle Smyrna, GA 30080                                         0         0
                          .

 Part 7:      Vesting of Property of the Estate

§ 7.1        Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in
             the debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon
             the completion of payments by the debtor(s).

 Part 8:      Nonstandard Plan Provisions

§ 8.1        Check "None" or List Nonstandard Plan Provisions.

                          None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:      Signatures:

§ 9.1        Signatures of Debtor(s) and Attorney for Debtor(s).

             The debtor(s) must sign below. The attorney for the debtor(s), if any, must sign below.

 X      /s/ George David Dorrell                                                          X   /s/ Carol Lynn Dorrell
        George David Dorrell                                                                  Carol Lynn Dorrell
        Signature of debtor 1 executed on                  September 21,                      Signature of debtor 2 executed on   September 21,
                                                           2018                                                                   2018

        1981 Westwood Circle                                                                  1981 Westwood Circle
        Smyrna, GA 30080                                                                      Smyrna, GA 30080

 X      /s/ Howard Slomka                                                           Date: September 21, 2018
        Howard Slomka 652875 GA
        Signature of attorney for debtor(s)

        Slipakoff & Slomka PC                                                              Overlook III, 2859 Paces Ferry Rd, SE
                                                                                           Suite 1700
                                                                                           Atlanta, GA 30339

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                       Carol Lynn Dorrell


By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

   IN RE:

   GEORGE DAVID DORRELL                         :      CHAPTER 13
   CAROL LYNN DORRELL                           :
            Debtors.                            :      CASE NO.: 18-57934-PMB
                                                :

                               CERTIFICATE OF SERVICE

            This is to certify that I have this day served a copy of the foregoing Amended
   Chapter 13 Plan filed in the above styled case by depositing same in the United States
   mail with the adequate postage affixed thereto to insure delivery addressed as follows:

   Melissa J Davey, Standing Ch. 13 Trustee (served via ECF)
   260 Peachtree Street NW Suite 200
   Atlanta, GA 30303

   George David Dorrell
   Carol Lynn Dorrell
   1981 Westwood Circle
   Smyrna, GA 30080


   SEE ATTACHED FOR ADDITIONAL CREDITORS

   DATED: September 21, 2018

   _____/s_____________
   Howard P. Slomka
   Georgia Bar #652875
   Attorney for the Debtor
   Slipakoff & Slomka, PC
   Overlook III
   2859 Paces Ferry Rd, SE
   Suite 1700
   Atlanta, GA 30339
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                                                   c/o Becket and Lee LLP Page    10 of 11      Po Box 297871
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Northern District of Georgia                        Malvern PA 19355-0701
Atlanta
Fri Sep 21 11:17:08 EDT 2018
(p)CAPITAL ONE                                      Capital One Bank (USA), N.A.               Capital One, N.A.
PO BOX 30285                                        by American InfoSource LP as agent         c/o Becket and Lee LLP
SALT LAKE CITY UT 84130-0285                        PO Box 71083                               PO Box 3001
                                                    Charlotte, NC 28272-1083                   Malvern PA 19355-0701


Elizabeth Childers                                  Citi                                       Comenity Bank/beallsfl
Shapiro, Pendergast and Hasty                       Po Box 6190                                Po Box 182789
Suite 300                                           Sioux Falls, SD 57117-6190                 Columbus, OH 43218-2789
211 Perimeter Center Parkway, NE
Atlanta, GA 30346-1305

Credit One Bank Na                                  Melissa J. Davey                           Carol Lynn Dorrell
Po Box 98872                                        Melissa J. Davey, Standing Ch 13 Trustee   219 Smelter Ave NE
Las Vegas, NV 89193-8872                            Suite 200                                  Apt 7
                                                    260 Peachtree Street, NW                   Great Falls, MT 59404-1967
                                                    Atlanta, GA 30303-1236

George David Dorrell                                (p)GEORGIA DEPARTMENT OF REVENUE           Hayden & Associates HOA
219 Smelter Ave NE                                  COMPLIANCE DIVISION                        12650 Whitehall Dr.
Apt 7                                               ARCS BANKRUPTCY                            North Fort Myers, FL 33907-3619
Great Falls, MT 59404-1967                          1800 CENTURY BLVD NE SUITE 9100
                                                    ATLANTA GA 30345-3202

IRS                                                 Kohls/capone                               LVNV Funding, LLC its successors and assigns
401 W Peachtree Street NW                           N56 W 17000 Ridgewood Dr                   assignee of Citibank, N.A.
Atlanta, GA 30308                                   Menomonee Falls, WI 53051-7096             Resurgent Capital Services
                                                                                               PO Box 10587
                                                                                               Greenville, SC 29603-0587

LVNV Funding, LLC its successors and assigns        Taylor S. Mansell                          Midland Credit Management, Inc. as agent
assignee of MHC Receivables, LLC and                Shapiro Pendergast & Hasty, LLP            for Midland Funding LLC
FNBM, LLC                                           Suite 300                                  PO Box 2011
Resurgent Capital Services                          211 Perimeter Center Parkway, NE           Warren, MI 48090-2011
PO Box 10587                                        Atlanta, GA 30346-1305
Greenville, SC 29603-0587
Northwest Federal Cu                                PRA Receivables Management, LLC            Pay Pal Credit
200 Springs St                                      PO Box 41021                               PO Box 105658
Herndon, VA 20170-5241                              Norfolk, VA 23541-1021                     Atlanta, GA 30348-5658



(p)PORTFOLIO RECOVERY ASSOCIATES LLC                Quantum3 Group LLC as agent for            Quicken Loans
PO BOX 41067                                        Comenity Bank                              1050 Woodward Ave
NORFOLK VA 23541-1067                               PO Box 788                                 Detroit, MI 48226-1906
                                                    Kirkland, WA 98083-0788


Quicken Loans Inc.                                  Lucretia Lashawn Scruggs                   Howard P. Slomka
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Detroit, MI 48226-3408                              211 Perimeter Center Parkway, Suite 300    Overlook III - Suite 1700
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                                                                                               Atlanta, GA 30339-6213
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Po Box 965028                                        Document
                                                 C/o Po Box 965036  Page 11 of 11       c/o PRA Receivables Management, LLC
Orlando, FL 32896-5028                               Orlando, FL 32896-0001                               PO Box 41021
                                                                                                          Norfolk, VA 23541-1021


Tracy Knight                                         U. S. Attorney                                       eCAST Settlement Corporation
1981 Westwood Circle                                 600 Richard B. Russell Bldg.                         PO Box 29262
Smyrna, GA 30080-5848                                75 Ted Turner Drive, SW                              New York NY 10087-9262
                                                     Atlanta GA 30303-3315




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Capital One                                          Georgia Department of Revenue                        Portfolio Recovery Associates, LLC
15000 Capital One Dr                                 1800 Century Blvd                                    POB 41067
Richmond, VA 23238                                   Suite 17200                                          Norfolk VA 23541
                                                     Atlanta, GA 30345




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Quicken Loans Inc.                                End of Label Matrix
                                                     Mailable recipients      35
                                                     Bypassed recipients       1
                                                     Total                    36
